UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                     X
KEISHA WILLIAMS, Individually and on
behalf of all others similarly situated,
                                    Plaintiff,             Case No.: 20-cv-00391 (ARR)(PK)
                      v.

HIGHLAND CARE CENTER, INC.
                        Defendant.

                                                     X


                       SETTLEMENT AGREEMENT AND RELEASE

                 WHEREAS, Plaintiff KEISHA WILLIAMS (Plaintiff) and HIGHLAND CARE
CENTER, INC. (Highland or Defendant) (Plaintiff and Defendant collectively, the Parties)
desire to resolve, settle and agree to dismiss the above-captioned action (the Lawsuit), without
further litigation and adjudication;

             WHEREAS, Plaintiff and Defendant have chosen to enter into this Settlement
Agreement and Release to avoid further proceedings;

               WHEREAS, the Parties understand and agree that Defendant denies each and every
allegation of wrongdoing, including, but not limited to, the allegations and statements contained
in the pleadings in the Lawsuit, and in any other document or statement whatsoever;

                WHEREAS, the Parties understand and agree that neither the making of this
Agreement nor anything contained herein, shall be construed or considered in any way to be an
admission by Defendant or any other person or entity of guilt or noncompliance with federal, state,
or local statute, order, regulation or ordinance, public policy, tort (whether intentional, negligent
or otherwise), contract (whether oral or written, express or implied), common law, Defendants
policies, practices or procedures or of any other wrongdoing whatsoever, whether with regard to
Plaintiff or anyone else; and,

                 WHEREAS, the Parties understand and agree that the Lawsuit shall be dismissed
in its entirety with prejudice as against Defendant by the Court subject to the terms of the Parties
stipulation;

           NOW, THEREFORE, IT IS STIPULATED AND AGREED BY AND AMONG
THE PARTIES that:

               1. Definitions.




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               (a) Releasors shall be defined as Plaintiff; and,

               (b) Released Parties shall be defined to include, but is not limited to, Defendant,
as well as Defendant's current and former owners, predecessors, successors, directors, officers,
current and former supervisory employees, parents and subsidiaries.

               2. No Consideration Absent Execution of this Agreement and Dismissal of
Lawsuit.

           a. Plaintiff understands and agrees that Plaintiff would not receive the monies and/or
              benefits specified in Paragraph 4 below, except for Plaintiffs execution of this
              Agreement.

           b. Plaintiff shall execute a Stipulation of Dismissal, which shall be filed by Defendant
              after Court approval of the settlement and two weeks after Plaintiffs counsel
              receives the settlement checks and provided that within those two weeks, defense
              counsel is not notified of problems cashing or clearing such checks.

           c. In the event that the Lawsuit is not dismissed with prejudice as contemplated by
              this Agreement, this Agreement shall be voidable. In such case, the Parties shall
              be returned to their respective statuses as of the date immediately prior to the
              execution date of this Agreement; the Parties shall proceed in all respects as though
              the Agreement had not been executed; nothing contained in this Agreement shall
              be used as an admission against either Party; and no Party to this Agreement shall
              be deemed to have waived or relinquished any rights, privileges, claims, or defenses
              by having entered into this Agreement. Notwithstanding the foregoing, the Parties
              may agree in a separate writing to modify or alter this Agreement in order to obtain
              Court approval and dismissal of the Lawsuit with prejudice.

               3.      Release of Claims.

               Releasors knowingly and voluntarily release and forever discharge Released Parties
of and from an causes of action, lawsuits, promises, obligations, charges, complaints, appeals and
demands whatsoever, in law or equity, relating to any violation of federal or state wage and hour
laws, including, but not limited to any implementing regulations, arising out of Plaintiff's
employment with Released Parties, including those asserted in the Lawsuit, which she may have
against Released Parties as of the date of execution of this Agreement, whether known or unknown,
asserted or unasserted, including attorneys' fees, based upon any conduct occurring up to and
including the date of Plaintiffs execution of this Agreement. Specifically excluded from this
release of claims are any and all claims arising out of the termination of Plaintiffs employment
with Defendant.

               3a.    Claims Not Released. Plaintiff is not waiving any rights she may have to:
(i) her own vested accrued benefits under Highlands welfare or retirement benefit plans; (ii) the
right to seek benefits under applicable workers compensation and/or unemployment
compensation statutes; (iii) pursue claims which by law cannot be waived by signing this
Agreement; (iv) enforce this Agreement; and/or, (v) challenge the validity of this Agreement.


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               4.     Consideration.

               (a) In exchange for the promises made herein by Plaintiff, including the release of
claims as set forth herein, Defendant will pay the total sum of Twenty-Nine Thousand Eight
Hundred, Seventy-Five Dollars and Zero Cents ($29,875.00) (the Settlement Amount), which
shall be apportioned to Plaintiff and Plaintiffs counsel as set forth below. Such Settlement
Amount is in consideration for and in full satisfaction of all claims set forth in Paragraph 3
hereof. Payment of the Settlement Amount shall be made after Plaintiff and her counsel provide
an IRS Form W-9, as follows:

                        (i)    A check made payable to Keisha Williams in the amount of Nine
               Thousand, Three Hundred, Seventy-Eight Dollars and Zero Cents ($9,378), less
               applicable taxes and withholdings, to be reported on an IRS Form W-2, due within
               thirty (30) days of Court approval of this Settlement Agreement;

                      (ii)    A check made payable to Keisha Williams in the amount of Nine
               Thousand, Three Hundred, Seventy-Nine Dollars and Zero Cents ($9,379),
               representing liquidated and other damages, to be reported on an IRS Form 1099-
               MISC (Box 3), due within thirty (30) days of Court approval of this Settlement
               Agreement;

                       (iii) A check made payable to Abdul Hassan Law Group, PLLC, in the
               Eleven Thousand, One Hundred Eighteen Dollars and Zero Cents ($11,118),
               representing a 1/3 contingency fee ($9,378) plus costs ($1,740), to be reported on
               an IRS Form 1099-MISC (Box 10), due within thirty (30) days of Court approval
               of this Settlement Agreement;

If there is a default in making the payments herein, Plaintiff or her Counsel, Abdul Hassan Law
Group, PLLC (AHLG), will give Defendant written notice of said default, by sending a notice
of default by email to counsel for Defendant Jeffrey Brecher, Esq. at
Jeffrey.Brecher@jacksonlewis.com and by federal express to Jeffrey Brecher, 58 South Service
Road, Melville, NY 11477. Defendant will have seven (14) days from receipt of such notice to
cure the default. If Defendant does not cure the default within seven (14) days of the notice,
Plaintiff and her Counsel shall have the right to enter a judgment against Defendants individually
and/or jointly, in the amount of Twenty Nine Thousand Eight Hundred Seventy Five Dollars
($29,875), less any monies paid by Defendant at the time of default, and shall have the right to
recover reasonable attorneys fees and costs incurred in collecting the judgment.
              (b) The Settlement Amount shall be paid within thirty (30) calendar days following
the Courts Order approving the settlement.

                (c) The payments shall be sent to Plaintiffs counsel who shall be responsible for
distribution of the payment to Plaintiff.


               5.     Acknowledgments and Affirmations.

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                 (a)           Plaintiff affirms that she has not filed, caused to be filed, or presently
is a party to any claim against Defendant, except the within this Lawsuit; that this Agreement
represents a settlement of a bona fide dispute regarding wages owed and hours worked; and that
Plaintiff shall promptly seek Court approval of this Agreement on the basis that the Agreement is
fair and reasonable.

               6.      Execution. The terms of this Agreement are the product of mutual
negotiation and compromise between the Parties. Plaintiff is represented by counsel of her
choosing and certifies that she is satisfied with the advice and services of her counsel. The
meaning, effect and terms of this settlement have been fully explained to Plaintiff by her counsel.
Plaintiff hereby affirms that she fully understands this Agreement and the release set forth above
in paragraph 3 .

               7.     Non-Admission of Wrongdoing. The Parties agree that neither this
Agreement nor the furnishing of the consideration provided for herein shall be deemed or
construed, at any time or for any purpose, as an admission by Released Parties of any liability or
unlawful conduct of any kind. The Parties further agree that neither this Agreement nor the
furnishing of the consideration provided for herein shall be deemed or construed, at any time or
for any purpose, to be evidence in any future proceedings other than to enforce the terms of this
Agreement.

                8.      Severability and Modification. If any provision of this Agreement or the
attachments hereto is declared illegal or unenforceable by any court, administrative agency or other
entity, and if such provision is not susceptible to interpretation or modification to be enforceable
(which the Parties authorize and direct any court, administrative agency or other entity to do), such
provision shall immediately become null and void, leaving the remainder of this Agreement in full
force and effect. If the limited release or payment provisions contained herein are not approved in
full, by the Court, the Agreement shall be null and void.

               9.     Section Headings. Section headings are used herein for convenience of
reference only and do not affect the meaning of any provision of this Agreement.

                10.    Entire Agreement. This Agreement, which incorporates as covenants the
representations and clauses in the introductory WHEREAS clauses and includes the terms of the
Stipulation and Order of Dismissal with Prejudice attached hereto as Exhibit A, which is expressly
incorporated herein, sets forth the entire agreement between the Parties hereto relating to the
subject matter covered by this Agreement, and fully supersedes any prior agreements or
understandings between the Parties. This Agreement shall be interpreted under New York law,
without regard to its conflict or choice of law provisions. No other promises or agreements shall
be binding or shall modify this Agreement. This Agreement can be modified only by a written
document, signed by the Parties or their legally designated representative, which recites their
specific intent to modify this Agreement, or as set forth in Paragraph 8 hereof.

               11.     Tax Liability. Plaintiff shall be required to ensure that all taxes relating to
any amounts paid hereunder properly are paid, except for the employers share of FICA taxes as
set forth in Sections 4(a)(ii) and 4(a)(iii) of this Agreement. In the event that taxes, interest or
penalties are held to be due and owing as a result of the foregoing payments, the taxes, interest or

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penalties shall be the sole obligation and liability of Plaintiff, who agree to indemnify and hold
Defendant harmless for any taxes owed by Plaintiff which Defendant paid, plus, interest or
penalties incurred by Defendant relating to the payments, except the amount cannot exceed the
amounts paid to Plaintiff as set forth in this Agreement

                 12.    Capability to Waive Claims. Plaintiff expressly represents that Plaintiff
is able to effect a knowing and voluntary waiver and release of claims, as contained herein, and to
enter into this Agreement and is not affected or impaired by illness, use of alcohol, drugs or other
substances or otherwise impaired. Plaintiff is competent to execute this Agreement and the release
of claims set forth in paragraph 3. Plaintiff certifies that she is not a party to any bankruptcy, lien,
creditor-debtor or other proceeding which would impair her right to settle her claims in this case
and to waive all FLSA, NYLL and WTPA wage/hour claims she may have against Released
Parties.

               13.   Counterparts. This Agreement may be signed in counterparts. A fax or
scan signature may serve as an original Agreement. This Agreement will not be effective until
signed by Defendant.

HAVING ELECTED TO EXECUTE THIS AGREEMENT AND TO FULFILL THE
PROMISES SET FORTH HEREIN AND TO RECEIVE THEREBY THE SETTLEMENT
SUMS AND OTHER CONSIDERATION IN PARAGRAPH 4, PLAINTIFF FREELY
AND KNOWINGLY, AND AFTER DUE CONSIDERATION AND DISCUSSION WITH
HIS ATTORNEY, ENTERS INTO THIS AGREEMENT INTENDING TO WAIVE,
SETTLE AND RELEASE CLAIMS AS SET FORTH IN PARAGRAPH 3 ABOVE.



              IN WITNESS WHEREOF, the Parties hereto knowingly and voluntarily executed
this Agreement as of the date set forth below:


Dated: 04 / 01 / 2022 2022
       ____________,                            By:
                                                        KEISHA WILLIAMS


Dated: ___________, 2022                                ______________________________
                                                By:     HIGHLAND CARE CENTER, INC.




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behalf of all others similarly situated,
                                    Plaintiff,            Case No.: 20-cv-00391 (ARR)(PK)
                          v.

HIGHLAND CARE CENTER, INC.
                        Defendant.

                                                    X



              STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

         IT IS HEREBY STIPULATED AND AGREED by and among Plaintiff and Defendant,

through their respective undersigned counsel, that the above-captioned action be dismissed in its

entirety, with prejudice, and with no award of attorneys fees, costs or disbursements by the Court

to any party except as set forth in the Settlement Agreement approved by the Court.

 Abdul Hassan Law Group, PLLC                           JACKSON LEWIS P.C.

 By: _______________________                            By: _______________________
 Abdul K. Hassan, Esq.                                  Jeffrey W. Brecher, Esq.
 215-28 Hillside Avenue                                 58 South Service Rd., Suite 250
 Queens Village, New York 11427                         Melville, New York 11747
 (718) 740-1000                                         (631) 247-0404
 abdul@abdulhassan.com                                  Jeffrey.Brecher@jacksonlewis.com
 Attorney for Plaintiff                                 Attorney for Defendant


                       SO ORDERED on this ___ day of _________________, 2022
                                ________________________________
                                            U. S. M. J.
4868-1676-0849, v. 1




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